Pravimee "~~~ TBEEA#239 = wee oe STOW Az

Date a 09-18-04

Case 105-9 PRE GMB UN SARA S ihe ANN IeS 1 of 86

Corrections Division

Proficiency Certification Report

Page 0! of 01

-- N: irr ative: Give: a brief. description of training conducted today and outcome.

> Prauiee’s Signature:

FB T. 0. Kelly carried out the profitiency test on 1 Officer Teel for the position of Rover.

of i icer.. “Officer Teel successfully explained and demonstrated all tasks and per formatice

-ahie ctives for this post. END OF REPORT.

~ F,T.O's Signature

-
_*

| designated Field-Trainer, the.trainee will: Properly. control.

| communicate telephonically by radio, and. overhead »

‘| coordination with the booking contro! ‘officer. Transcribe inmate names onto new form

PS) Answer ai incoming Telephone calls wath "Hanison County Shenitt's Deparment .

' |.6) Monitor all: movements within your. view concerning court, staff, inmates, and

] employees. Do not give out’ any, telephone numbers unless cleared by S-l or higher.
‘4. all tines monitor secure aréas to see that they. remain secure e and clear ofi inmates.

‘|. times you may have to handle many tasks at: the sane time, especially during a busy

Case 1:05-cv-00326-LG-JMR ~ Document 77-2 Filed 08/14/08
FTO MODULE PERFORMANCE CHECKLIST

Chapter

"Modular ‘Title: CENTRAL CONTROL.

Page 2 of 36

Trainee tec\

FTO FLA Neg lf.

Peformance Obj jective: Follow imamate by. the
‘and document access to secure areas, monitor staff/inmate
‘movement in hallways; assist with sotting/documentation

of U.S. mail when needed, and in a professional Tanner

Speakers..

| Trainee Reads/Review wk .

“document —-

“o
co. .
Go
An
& YL
ss
8
2
Os
fo
iQ

Trainee explains as FTO

demonstrates

_ Trainee Explains and

demonstrates

‘Trainee Practices

Trainee Performs Successfully
. (Proficiency. Test Completed):

Dd Enter central. control and re receive a briefi ing by the c on duty o central control operator. .
Read any/all information i in regards to the pass-on book, memos. observation sheets.

Fy Ensure that all keys are logged in/out ‘and accounted for prior to. relieving ihe on duty
offi icer. All keys are to bé stored i in a secure manner, in their proper location/area,

3) Ensure that’ all inmates are Tog ged infout accurately on the movement sheeti in

if necess — double check the accurac’ with the sending control room or aiea. *.
ary.

: anyone to enter your's ‘area unless a ‘sergeant or: above, or if cleared by. 8-1 or higher,

Corrections Division, Deputy: :~  speakirig: may 1 help you"? Direct alt cails. :
“properly in accordance with the facility rules and regulations. Always bé helpful.

visitors. .Be’ Security/saféty mirided in regards to all-activities that you observe... Report
all security/safety infractions to the ori duty supervisor, via southern linear telephone.
7) Monitar and track the locations of contractors working in coordination with the
maintenarice staff— Keep S-1 informed of their work detailsiuse. of equipment. ,

&) Coordinate any/all cinergencies by & use oF radio. southern line, and ieee Also”
use the public address system { for notifi ication(s) or to direct staff, .

“9) Be familiar with all emergency Contact numbers for police. fire, rescue, dispatch. cand

10) Access Secure dons from the central control panel i ina sate and ‘Secure manner. At

! i) Show proficlency in handling multiple tasks § ina wate. secure, efficient manner. At

. shift or emergencies. . 2 at aoe

12) Demonstrate thé proper way to log and sort the US. Mail - always be on ihe alert .
for any suspicious package(s). If any coricern immediately notify S-1 for assistance.

: T certify that proficiency was demonstrated by the above
trainée concerning this task on (date):
FTO___Wlh/’ AL To

Trainee.

ay Relieve the on duty central control officer and assume post for duty. Do not allow |

ze pol

G Ato

eet" Case 1:05- AREREL VCOUNPYSHERET Sipihs IMENT: 3 of 36

Ci orrections Division

Proficiency Certification Report

Trainee__R. TEEL #329, oo F.T.O. ‘A. KELLY #181

Date, 09-18-04 sSs—~<C*sé‘—~*sS«é age OF oO

Lo NN artative: Give a brief description of training conducted today and onteome:

HE, v O. Kelly carried out the proficiency test on. Officer Teel, for the position of Central Control
Room Officer. Officer TeeL successfully explained and demonstrated all tasks and pert formance

objectives for this s post. ‘END OF REPORT.

_Traihee’s Signature. _-_-F-T.O’sSignature
| monitoring and logging events. Properly document in the

|-any inmate is in need of attention.

FTO MODULE PERE ORMANCE CHECKLIST
Chapter ' Trainee feb

Modular Title: MEDICAL WATCH

‘ Case 1:05-cv-00326-LG-JMR ;Bocumertt 772 - Filed Op714/08 Page {F836

FTO

TY

Performance Objective: following. demonstration by the
designated Field Traifier, the trainee will: Providesafety ~~
and security. to inmates assigned. to D/F by constantly

“pass on book and any assigned observation forms as
: required. Contact medical staff through the control room if

a .

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3 z
& 5

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zg £3
o:.. af
me ao
o oO A
8B] Bo
“E812 Et
cE ae] B.A).

Trainee explains as FTO -

demonstrates

Trainee Explains and
’ demonstrates

“Trainee Performs Successfilly. |
(Proficiency Test Completed)

Trainee Piactices

Ty ENTER D/F MEDICAL SECTION AND REVIEW ALL INFORMATION IN THE”

PASS-ON BOOK, POPULATION LAY-OUT, OBSERVATION SHEETS, VISITOR
LOG. AND SIGN POST ORDERS. REVIEW LAST THREE(03) DAYS EVENTS.

, ST. ANDARDS; IN A SAFE, ACCURATE. AND TIMELY. MANNER.

2) CONDUCT A PROPER HEADCOUNT IN ACCORDANCE WITH A.C.A.

ASSUME DIF MEDICAL DUTIES.

} THROUGHOUT THE SHIFT TO ENSURE CARE, CusToDy. AND CONTROL.

A CONTINUALLY MARE SAFETVISECURITY CHECKS OF THE SECTION

x DUE TO THE FACT OF DIF BEING x MEDICAL SECTION, ENSURE THAT
SANITATION AND HYGIENE ARE HIGHLY MAINTAINED: oo .

Pe MAINTAIN A GOOD PROFESSIONAL RAPOR WitH THE TNMATES IN OF

“TO ENSURE ALL INMATES ARE SAFE AND: RECEI VING PROPER CARE,

7 HANDLE ALL INMATE REQUESTS IN A TIMELY MANNER ‘AND DIRECT

THE ONES YOU CANNOT ANSWER TO THE PROPER AUTHORITIES.

wf HYGI ENE: ATTITUDE AND BEHAVIOR, ALWAYS: KEEP. A VISUAL.

H BE AWARE OF ALL SUICIDAL INMATES, AS TO THEIR MEAL INTAKE,

a SPEAK WITH MEDICAL STAFF. FREQUENTLY iN REGARDS TO" ANY TYPE
OF CONC ERN(S) ABOUT AN INMATE. UTILIZE THE CONTROL ROOM OFF-
ic ER,'S-I, OR THE NURSE ON THE BLOCK PASSING MEDICATIONS.._:

: 10) PROPERLY AND: “THOROUGHLY BRIEF THE ONCOMING. OFFICER. TO: a
D/F TO ENSURE THAT ALL. WATCHES, OBSERVATIONS, ANDUNUSUAL/ |.
’ SERIOUS CONCERNS ARE BROUGHT TO NOTE. PROVIDE ALL CONCERNS. .

“11) FULLY UNDERSTAND AND AC KNOWLEDGE THAT-AT NO TIME. WILL.
ANY.OFFICER LEAVE D/F FOR ANY REASON UNLESS CLEARED BY THE
DIRECT OR OF CORRECT IONS AND/OR THE SHERIFF = *IMPORTANT*

/ 12) MAINTAIN A HIGH STANDARD OF CLEANLINESS =BE REMINDED THAT
D/F 1S ‘A MEDICAL UNIT AND THAT UNIVERSAL PRECAUTIONS MUST BE
USED AT ALL TIMES. CPLR. AND FIRST AID CERTIFICATION MANDATORY.

. trainée ie Wi is task on_ _ (date)

| Trainee _ “{ pe

I certify that proficiency was “demonstrated by the above |

FTO

7H VERIFY AND CLEAR THE COUNT WITH THE CONTROL ROOM OFFICER, - .

oS coh

4-04

he

Sie
4 ON

aot

e

- double’ checked and ID. bands. verified a ey wei te, issued) prior to making any) move. Tf.

os, blanket: towel, toilet tissue, cup, IG 5
oe Booking while i in route to assigned’ block: to obtain: missing, items.

framée’s Signature: > ~

" Case 1:05-0¥ 96896" GyaMO URS BLEEERI BSE 5 Of 26

Corrections Division

Proficiency Certification Report

Trainee_____M.-Teel #239 _ F.T.O. A.KELLY #18]

‘Date. 9-18-04 Page Ob of 01

Na rrative: Give a brief description of training conducted today and outcome.

Officer Teel has been assigned as Rover i in the past. Officer Teel reads and signs. s the Post
\ Driers in de-biiefing.

It was explained that the Rover will assist any Officer requesting: copies or in nneed of any

o other assistance and when possible, ‘short term/temporary relief from post. '

Officer Teel showed thé proper way to éscort inmates from their block to church, court.

- Medical, ‘ete. and. the’ proper use. of restraints. (ie. daisy ‘chain -cuffing, all inmates left: hand to.
’ chain prior to exiting block, cuff and shackle'all B-Block inmates).- Officer Teel showed how to” .
” properly check and. verify that no inmates are together that are on'the. “NO, CONTACT” list prior.
“to ally movement.’ It was str essed that when escorting inmates, notify Central Contr ol to monitor

the movement, especially when inmates of the opposite sex are being moved. Moe
_. Officer Teel’ was reminded that Safety, Secutity, and Sanitation is every Officers
responsibility ‘and as Rover especially. Officer Teel was reminded that. while making Security”

- .rounds, check alt doors to ensure. they are secuied: and check. all passageways for cleanliness and
~- safety conditions then report any discrepancies to the Shift Supervisor: © o

_ Officer’ Teéel has performed. Classification Moves and explained that names: 5 should | be Ae ~

S51 miattess cc cover, 2 sheets, pillow, pillow: case;
toothbrush, ‘and tooth. paste) and ifn not, stop by

In addition to the above, Officer Teel was reminded that any orders or tasks reveled.

_: frony the: Shift Supervisor’ ‘aré also to be cartied out.

_F.T.O. Kelly cattied out the proficiency test on: Officer Teel for the position, of Roving

~ Officer. Officér Teel successfully. explained aiid demonstrated all tasks and performance | .

ohjeétives for this post.” END OF REPORT.

F.T.O’s Signature ~
- Case 1:05-cv-00326.

FTO MODULE PERFORMANCE CHECKLIST
Trainee TOU |

LG-JMR Document 77-2. Filed d8/14/08 Page 6 of 36.

R24

Chapter _.
_ Modular Title: Medical Rover

ETO ell ie.

, tn > “Performance: Objective-t following- “demonstration by- the. --|- ---] - -+--

designated Field Trainer; the trainee will: Provide safety | x .
and security in the medical ward: Control inmates in need 3 - 9
of medical attention. The trainee will control access to and a | &
fromm the exam rooms and at times will escort inmates to | 2 ef. a
and from the blocks. 3. | eagle
, : o |ia 8! &
ee} asl o
Pg O41. Aw
oe] &| a
€8sa)o-4al &
£3/ 9) &
| fe OY

| demonstrates

| Trainee Explains and.

“demonstrates

‘Trainee Practices) =

{ Trainee Performs, Successfully
| (Proficiency Test:Completed),

os Maintain Seca in 1 Medical Depart at al fimes. .

os Provide Security for Medical Stair

Traiisport Trmates to and from Medical

f Notify Shit Supervisor of any y Medical Emergency.

‘Never leave your duty post vualess authorized by: medical

_ | staff.
Maintain Seourity of Medical Bguipment and Medication

. at all times. ae .
“Over all Security. of. Medicai Deparment doors secure

_| arid Inmatés Restrained.
| Make sure- that no Inmate i is Tet in Medical Department Lh

| without Security.

Escort Medical Staff and provide Sealy quttig
Medication Pass. -.
- Proper ly Brief Officer relieving Medical aT Seca.

Perform all Duties aS issigned.

>)

T. cert that af proficiency was demonstrated by the above a:
- rine 0 fel pine this he on ee 32 .
Trainee “der as SS >

We gaa
geet

- Case 105-94 A58R6 GRNTOURPY SHIR SIDI ERATE 7 0138 /

Corrections Division

' Proficiency Certification Report

Trainee. R. Teel #329 a ¥.T.O. A. Kelly

Date ae 9218-04 - _. ce. _. . wb eee De ae Page { 0 of 01
N arr ative: Give a brief description of training conducted today and outcome.

- Officer Teel was given a copy ‘of the Medical Rover Performance Checklist to read over.
“It was ‘stressed that while assigned as Medical Rover, the Officer’ s main function i is. ‘to provide

secur ity for the Medical Staff, Medical Department equipment and medications: The Medical -

Raver will escort Medical Staff and provide security during Medication Pass. ‘At no. time will an a

“inmate and a Medical Staff member be left: alone together: li the event af a Medical Staff
me mber needing to examine a female inmate, there must be a female Offi icer: present. -At no: ‘time
wi tt an inmate, be left in the Medical ‘Department without an. Officer being present, even if the -

ma ate is secured i in the Waiting Room. All thr ee: doors to the Medical Department Waiting

R ou, cust be secured while i inmate eg are-présent i

myg

. “The proper way to escort inmates to o and from: Medical anid the proper’ use of restraints
(Le. daisy chain - ~ cuff all inmates left hand to chain prior to exiting block, cuff and stiackle all
“Re Block inmates) was. discussed. Hand cuffs and daisy chain cuffs may be removed only after

‘enter ring then securing the Medical Department Waiting Room door. .

EF. T. O. Kelly carried out the proficiency test on Officer Teel for the position of Medical

Roving 5 Officer. Officer Teel successfully explained and. demonstrated all tasks and performance -

objectives for this post. END OF REPORT.

Frameée’s Signature’ oo Ct wie F.T.O’s Signaturé’
Case 1:05-cv-00326FLG-JMR Document 77-2 Filed ed da/14/08

FTO MODULE PERF ORMAN CE CHECKLIST

Chapter _ Trainee ez | BA
Mi Hy. [s

Modular Title: Perimeter Rover FTO

Page 8 of 36

Performance Obj ective: Following demonstfation by the. Tesignated Field
"| ‘Trainer, the trainee ‘Will: Conduct safety anid security. inspections of the

} perimeter. These areas include the fences, rooftops, parking lot,
walkways, windows, » doorways, and grassy areas.

oN

| Trainee Reads/Review task!

* document

FTO. Explains and
| Demonstrates

Trainee explains as FTO

| ‘demonstrates’

| Trainee Explains and

demonstrates

‘! Trainee Practices. _

Trainee Performs Successfillly
| ‘(Proficiency Test Completed)

ED Reseive a brlefin ing: from S- T on any information that may concern nthe
perimeter: of the facility-such : as risk inmates, construction areas, etc.

2) Report to central to advise that you are.now 10- 08 on perimeter, aad sigan the

perimeter keys : out until the end of shift. : oo

-[-3)- Do a complete perimeter Check of the fences/gates and verily that al is in i order.

| Report any questionable : areas. immediately to S- I. , . -
4) Doa “complete 1 roof ‘check. Cheek for-holes, all air vents, and ake sure mafntenance -
didi’ t deave’ any, tools behind. “ -

a 5) ‘A30 ininute actly ¥ watch willt be conducted aiong with an aside security inspection |
.. J ctiecklist:

6) Do a complete check of al perimeter rahig and [ooks. Report any problems of
iiiaintenance to’ central: control.

7) 7) Do a complete check of inner perimeter. Check the windows make sure theirs no holes

in them, and: man hole covers:
- 8) Report al security infractions fo the ST on i duty.

I cey that. proficiency was ‘demonstrated by the above’ trainee
concerni 1g. es task. ot (date)

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1-19-04

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o »hjeetives for this post, . END OF REPORT.

Case 1:05-9 AR R61 GRMRO UNE SHEREF SIDER PITERME © of 36
Corrections Division

Proficiency Certification Report

Trainee. RB. . Teel #329 _ FTO. AKELLY #181

Narr -ative: Give a brief description of training conducted today and outcome.
Officer Teel has been. assigned as Perimeter Officer in the past. When: questioned about .

the post, Officer Teel advised F.T.O. Kelly that upon assuming Perimetet Officer duties he meets

with the regular Perimeter Officer i in the parking lot. to get a briefing on: any special e events that

may be happening.

. - Officer Teel explained how to conduct a: Security Cheek of. the Outer Perimeter F ence,
anid lighting. He pointed out what kind of discrepancies to look. for, such as lights out, holes i in

or under the fence and to check all gates ¢ and locks and that while conducting an Inner Perimeter

Fe ence Secuti ity Check to basically note the same type discrepancies as the Outer Perimeter Fence.

1) addition to’ noting the locks | on the : Sewer accesses and the condition of the sally port Tocks and

- razor wire. FE-T, 0. Kelly advised Officer Teel. that while conducting an. Inside Perimeter Security

C ‘heck of all four blocks: to walk appioximately 10° to 15 feet away | from the building. FE. T. 0.

Ke | ly explained that from: such a vantage poiiit he could pr operly chéck all cell windows for.

damage or signs of tampering and inmate movements within the cell without actually having to

- peer info each, cell uinnecessarily. As with the Oiter and Inner Perimeter Fence Security Checks,

F.U.O. Kelly pointed out the discrepancies to look for. Officer Teel: has safely conducted Roof

: See utity Checks and was advised, for safety reasons, 5, that when it is s raining, lightning, and/or

ot high: winds roof checks are not to be conducted.

.
Officer Teel explained how to complete the Outside Security Inspection Checklist and the | .

4 juutside Security Report after each security round and that it should read like a block: log log in

- Trainee’s Signature.

start and stop times of each event (i.e. Outer Perimeter. F ence Security Check, Inner Perimeter

F ence Security Check, CD Inside Perimeter, A/B Inside Perimeter, and Roof Security Check).

Officer Teel successfully explained and demonstrated all tasks arid performarice :

F -T.0’s Signature .

Date 7 _9- igo4 _ - — Te "Pa; eOlof0l
f .
Case 1:05-cv-00326-LG-JMR Document 77-2 - Filed 08/14/08 Page 10 of 36

FTO MODULE PERFORMANCE CHECKLIST

Chapter _ _ | Trainee je.! af

Modular Title: Booking. Control FTO Hdl } |
won ned “Peformance Objective: “following demonsirati On- by. ithe... omen tone sere Eater = pe |. Spe Ls -
. ‘designated Field Trairiet; the trainee will: Conduct safety | » Bo
a.
| and security operations, ‘control access in and out of s Oo 3 &
| booking ‘area; registering on the proper logs persons who & i zu 3B.
enter and exit. Professionally answer the telephones and @ |B Ia on al ag
. ad tog. ©  |8 7 8 Oo
provide information. The primary function of thispostis | 3 | 2 alse |S |8  ;e
baw of 8 vu oo af. ?
to bei in | control of access: ‘and departure of all I persons. oul 28 ca txa |£ |e?
/ -@° O- x a oe a. o a wo o-2
® fj] Wi Go oa oO: oo
Sslog #£2)/82 18185
E3y;Okl es [este | ee
Bepmabes [eo Te le&

L T)Enter the booking control room rand secure ‘the door. Receive a
briefing f from the on- ~duty deputy regarding daily events..

Sign post orders ‘and. assume the duties of: booking control-
controlling all exiting and entéering of the booking areas,

3)Document all agencies, and all inmates coming in-and out of the —
facility. Example: Caurt, hospital, funeral, etc.

Py #)Monitor t the security cameras and report any rugusual inckdents to |
‘the on-duty supervisor, : Lobes, fy ls .

3)Monitor the two security gates and ‘allow access and exit it to Those,

"| who are ‘authorized. Always check for identification on vehicle:

: 6)Demonstrate the proper ‘technique for opening | both gates at the _

same, time: ‘during an ‘émergency(firetruck, ambulance, etc.)

Control access’ and exit to the: holding tanks | in booking as. directed -

by the. booking staff-controt on/off of telephones. .

8)Restr ict access tO. anyone. with a fil rearm ‘on, “excluding, law

“enfor cement using the elevator for upstairs 2 access. .

9yNotify S-1 when any inmate(s). departs/returns through Booking” :

control by either ‘ambu lance or transport | for the hospital. -

[O)Answer the telephone for limited information to those calling for

| bonds, releases and general i inquiries.

>| >

q |?

i 1)Brief the oncoming staff on all information in regards | to booking >| 3
a _\ oy

q-0f of
G 04-04

and booking control.

12)Upon deparnare from booking control, ensure that the relieving
} officer is fully briefed, and that the door is secure.

ML

| I certify that proficiency was 3 demonstrated by the above | fos
- .| trainee ey spe taskon .-.. _(date) & = =

1 FTO". : .
‘Trainee _

Case 105-7 G-AMAO UNE SHERIF I'S DEES MEN 11 of 36
Corrections Division

Proficiency Certification Report

 Trainee___R. Teel #329 ‘.T.O. A.KELLY #181

ate, 9. 18: 04 ee Page 01 of 01

Na arvative: ‘Give a. 1 brief deseription of training conducted today and outcome. .

F. Y 0. Kelly carried out: the proficienéy te test on Officer Teel for the position of Booking Control >

Room, Officer. Officer Teel successfully explained and | demonstrated all tasks and performance

ee objebtives 1 for this post. . END OF REPORT.

a a Te 5 oo ra
. Tramee’s Signature © — ' F.F.O’s Signature
“*Gase 1:05-cv-00326-{. G-JMR os Document 77-2 Filed 08/14/08 Page 12 of 36

f

FTO MODULE PERFORMANCE CHECKLIST

t

Chapter _ a
Modular Title: CONTROL ROOM .

“LETO

Performance Objective: Following demonstration by the |
"designated Field Trainer, the trainee will Safely and’
securély monitor inmates and the block/sections. Answer
‘requests by telephone; intercoms, and radio. Control and’. |
verify counts, control and document access in and out of
~~ | the block/sections, and conduct and monitor visits/church ©
_. || services. Properly notate alt activities relating to medical. |

Trainee.Practices.

demonstrates,

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Demonstrates a
| Trainee Performs Successfully
(Proficiency Test Completed)

| Trainee Reads/Review task

| document
| Trainee Explains and .

| FTO Explains and

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“TYENTER CONTROL ROOM AND NOTIFY CENTRAL

RECEIVE BRIEFING FROM ON DUTY OFFICER. . :
2) REVIEW ALL PAPERWORK, GREEN BOOK: POST ORDERS... |
AND CONFIRM COUNTS ON POPULATION SHEETS.
‘3)EXIT CONTROL ROOM AND NOTIFY CENTRAL-MEET
_WITH OFFICERS TO CONDUCT SAFE/ACCURATE COUNTS." |. :
4) CONDUCT-COUNTS SAFELY. ACCURATELY, QUICKLY, IN’ | -
~ [ACCORDANCE WITH A.C.A.STANDARDS.. 7° |
~ [3)UPON COMPLETION OF COUNTS, SIGN TO. VERIFY ON

| POPULATION SHEETS AND RE-ENTER CONTROL ROOM. —
‘| NOTIFY CENTRAL OF ENTRY TO CONTROL ROOM AND:
| THAT COUNTS ARE VERIFIED/CLEARED-ASSUME DUTY. «
7) MONITOR ‘ALL SECTIONS AND MAKE AN ENTRY ON
NOUR LOG STATING. WHAT WAS OBSERVED(EVERY.
_ LMINUTES). “THIS CAN BE TIME APPROXIMATE:

"| 8:ANSWER RADIO-AND TELEPHONE-ALSO ANSWE
INTERCOM AND INMATE REQUESTS AS NEEDED: 2 -
9) MAINTAIN ALL MOVEMENT IN YOUR BLOCK-IN/OUT OF —
.YOUR BLOCK USING PROPER FORMS/DO CELL CHANGES.
MONITOR ALL STAFF:TO ENSURE THEIR SAFETY IN BLOCK.
- | 10) DOCUMENT: ALL RECREATION RELATED ACTIVITIES

{ALL MEALS IN/SERVED/OUT-WHAT WAS SERVED-# TRAYS.
11) ACCURATELY MAINTAIN POPULATION SHEETS-IF ON
MIDNIGHT SHIFT. CONDUCT ACCURATE RE-WRITE. THIS
SHOULD BE ACCOMPLISHED WITHIN TWO(02) HOURS. -
|2) PROPERLY BRIEF ONCOMING OFFICER AND ENSURE
~ | ALL PAPERWORK/BOOKS/FORMS WERE UTILIZED

| PROPERLY. DO NOT LEAVE UNTIL PROPERLY RELIEVED.
-T certify that proficiency was demonristrated by the above
| trainee’ concerning this task on. (date)

Fe leat
A-1¢-04

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“Case 1:05-cv-00326-KG-JMR Document 77-2 Filed 09/14/08 _ Page 13 of 36
HARRISUN COUNTY SHERIFF’S DEP. ATMENT

- Corrections Division

Proficiency Certification Report

Trainee_Teél #329 _ F.T.O. Mt KELLY #181

Date. . “si8-04 ee 7 Page Or eror

‘Nar rative: Give a brief description of training, conducted today and outcome.

_#F, T. 0. Kelly carried’ out the proficiency fest on. Officer Teel for r the position. of Control

Reon m Officer. Officer Teel successfully explained and dethonstrated all tasks and pet formaice..

objectives for this post. “END OF REPORT.

sls eal init et
Bee!

> Trainees Signature L) - + F.T.O’s Signature
“1h - Case 1:05-cv-00326-[G-JMR Document 77-2 _ Filed 08/44/08 Page 14 of 36

FTO MODULE PERFORMANCE CHECKLIST

Chapter__ : __- Trainee Tee ( A
Modular Title: ELOOR OFFICER, FTO. :/ cine } [
2 eee ef Performa sie Objective: ‘Followingden nonsi eee pe
designated Field Trainer the trainee. will: Provide safety M a. 3
sf and security’ supervising all inmate activities Within the 8 Oo. $8.
| block and sections. At all times be knowledgeable of . g - is 2 9 5.
- | inmate counts, requests and special requirements of the. “3B | gE 2 la g la
individual block assigned, to include recreation timne.: at 1g 2a Bey Sa ¢ ge
all tithes monitor the safety of all staff anid visitors to the |e2/38 < Ea 8 Eee.
block. Prepare inmates for transfer/réceive. arriving. | &e. ae 320 @ |: 3. go.
‘inmates. SS) 8s 6 lee [se as
‘ Saha DU eu ye eS

Ti ENTER THE BLOCK AND REVIEW ALL PAPERWORK PERTAINING TO
THE INMATES; PASS-ON BOOK, POPULATION, OBSERVATION SHEETS, '
POST ORDERS, AND VISITOR LOGS. REVIEW PAST. THREE(03) DAYS.
AC ONDUCT A PROPER HEADCOUNT IN ACCORDANCE WITH A.C.A.
STANDARDS: INA SAFE. ACCURATE. AND TIMELY: MANNER. -

7 3VERIFY. AND CLEAR THE COUNT WITH THE CONTROL ROOM OFFICER, y
, ASSUME FLOOR DUTIES. . . . oo

a C ONDUCT aN ACCURATE INVENTORY” OF ALL RESTRAINTS PRESENTLY
ASSIGNED TO THE BLOCK, DOCUMENT IF ACCOUNTED FOR, OR MISSING. _

“7 3) INITIATE SAPETY SECURITY INSPECT TONS iN ALL SIX(06) SECTIONS
OF THE BLOCK/YARD/ VISITATION AREAS. CONTINUALLY CHECK -

DURING YOUR SHIFT, NOTING ANY DEFICIENCIES/WORK ORDERS...

6) SERVE MEALS, ACCOUNT FOR ALL TRAYS ENTERING/EXITING BLOCK

NOTATE TIME IN, MENU, TIME OUT - NUMBER OF TRAYS IN/OUT.

ALL TRAYS MUST BE ACCOUNTED FOR/HOLD TRAYS FOR INMATES QUT:

4) PROVIDE SECURITY ESCORT FOR MEDICAL STAFF DURING 7

1M EDICATION PASS ~ - ALSO IF INMATE 1S INFUREDILL.

4 4¢0f

Sy PROVIDE SECURITY. FOR RECREATIONYARD CALL= SUPERVISE AND .

- DOCUMENT THE ‘SECTION AND AMOUNT OF INMATES PRESENT ON THE
EXERCISE YARD LOG(ALSO IN THE PASS-ON BOOK). : a
9) PROPERLY DEMONSTRATE PREPARING INMATE(S) FOR TRANSFORT ,
“QUT OF THE. BLOCK(SEARCHING AND RESTRAINTS). PROPERLY NOTIFY
{| ALL PARTIES INVOLVED(CONTROL ROOM, CENTRAL, ROVER). sO
10) INVESTIGATE ANY RULE VIOLATIONS IN THE BLOCK, AND ANY/ALL
BREACH OF SECURITY. DOCUMENT/NOTIFY ON DUTY SUPERVISOR. oo

,T iy PROPERLY HANDLE/DIRECT ALE INMATE REQU ESTS TO THE PROPER
‘AUTHORITY. DEMONSTRATE HANDLING A BASIC INMATE REQUEST IN"
THE BLOCK. EXAMPLE: C LOTHING EXCHANGE. HYGIENE, ETC.

42) PROPERLY BRIEF ALL ONCOMING OFFICERS OF BLOCK INFORMATION
. | AND ANY SPECIAL CONCERNS. HAVE ALL INMATES READY FOR PROPER.
. HEADCOUNT. ENSURE ALL MOVEMENT HAS STOPPED/T ELEPHONES OFF:

I certify: that pioficiency was demonstrated by the above.

painee Big task on. -_ (date)

. Te Trainee.

Case 105-8FRRIC WN CO ENTY SAEED iNT 2

/ Corrections Division

Proficiency Certification Repor t

Trainee___R. Teel #239 F.T.O. AKelly #181

——Date—__-- 9-18-04 oe Pagel of OL.
Narr: ative: Give a brief deseription of training, conducted today and outcome.

B. T.O. Reri carried out the proficiency test o on Officer Teel for the position of Floor
Officer, Officer Teel successfully explained and demonstrated 2 all tasks and performance .

. pbjectives for this, post. END OF REPORT. -

~ framee's Signature F.T.Q’s Signature
Case 1:05-cv-00326-LGé-JMR Document 77-2 Filed o8/¥4/08-” Page 16 of 36

HARRISON COUNTY SHERIFF'S DEPARTMENT
FIREARMS QUALIFICATION/RANC GE TRAINING

DATE:O2 ~/ 7-99 TIME IN:O7.33. TIME 0UT: 27?

| PLEASE.P . a : !
LAST NAME “Tee __ FIRST NAME Rear Mt A

4 ssn“a5~ ahs P10 | _ PHONE P96 ERED DIVISION Jail

_ADDRESS 2370. Park. Pace om Galore | srarnar Os Ms sxe

_ WEAPON MAKE Glock ____MopEL [7] — CALIBER MA |

xian wo 21 663-5 BARREL LENGTH issu _ vs ne NO.

‘TYPE OF COURSE __ 60 ROUND __2~50 ROUND 30 ROUND __ TRAINING

ee 225/300» «190/250
QUALIFIED YES __ no 183. SCORE INSTRUCTORS INITIALS He.

REFIRE( “__YES_ NO 235 SCORE counts.

INSTRUCTORS INITIALS_CCS |

_ WEAPON INSPECTED J YES “NO COMMENTS

BRASS RETURNED LZ _ YES _NO

RANGE SAFETY BRIEFING _ Zo YES NO ~ COMMENTS

INSTRUCTORS INITIALS _____

Case 1:05-cv-00326-LG-JMR . Document 77-2 Fited 08/14/08 Page 17 of 36

_. HARRISON COUNTY SHERIFF “S DEPARTMENT:
FIREARMS QUALIFICATION/RANGE TRAINING

(DATE: £2-27-0  qiyg tn: 4630 ate ouT:___ “Zo

LAST NAME

© $8 42531 4 P90 enone _P3y- 94g 2 DIVISION ““Transee

_ WEABON “MaKe GloeK MODEL 2 CALIBRE Dihig
. Seria wo. DAR 1g. _. BARREL Leneri 4 rsgyzp. Yes woo |

» TYEE OF Course 69 noun “40. 50 Roun —_ 30. ROUN

_ WALEETED I<" yes no __ scons rnsraucrons:rwrrrans LE)

TRAINING ©

—— INsTRuCTORS: inrrrans

— YES’ NO COMMENTS __

__. BRASS“ RETURNED _

teas ——-_ NO COMMENTS. _

_RANGE ‘SAFETY BRIEFING.“ yEs

~ InsTRuctoRS intrrans | 27E —

7 (4/08 Page 18 of 36
Case 1:05-cv-00326-LG-JMR Document 77-2. Filed 08/24/08 Page

SHERIFF'S DEPARTMENT

HARRISON COUNTY
FIREARMS QUALIFICATION/RANGE TRAINING —
—DATE:_O-/7-/ | TIME IN: (/30 TIME oUT:_ /52O
LAST NAHE __ jee FIRST wane Ron IE
SSN -3l- | PHONE. 222. PL R54 DIVISION TransPorh

_ ADDRESS 0 Taadly De

Pe cITy Culioct ___ srareyzt

P. £23. 35.503_

_ Weapon wane _ W/E

MODEL _- USP

CauIBRR ST

BARREL LENGTH 3

a SERIAL ‘NO. 25697 015

~_.. 6 Ri

TYPE OF COURSE
ee 225/

ed

“QUALIFIED Loves

REFIRE |

DUND
OD

| NO

 ISSvED

—.. 30 ROUND _—_
112/150

INSTRUCTORS INITEALS Yosie

SCORE COMMENTS

7 58 ROUND
‘SO
SCORE

—— TRAINING

“

YES: ao

WEAPON INSPECTED _¢—~ yp

WF

. INSTRUCTORS INITIALS Way (OL,

COMMENTS.

—__, &O

YES —— NO

RANGE SAFETY BRIEFING _

— BRASS RETURNED

COMMENTS

INSTRUCTORS ENITIBUS SA

oO
Case 1:05-cv-00326-L@JMR Document 77-2 Filed 08/44/08 Page {APBCCLT

HARRISON COUNTY SHERIFF ’S DEPARTMENT .
FIREARHS QUALIFICATION/RANGE TRAINING

DATE: fo-t7-0 TINE IN:_ 4/30 TIME OUT: (500, _
LAST NAME “Tee| _ __ FIRST wane Ryo _ MI a
SSN H2S= 31 4 P46 . _ PHONE 2oP Px 3545 DIVISTON ThansParh _
ADDRESS £66 Tavacdy, De city Culfpot ‘srareyare 22533503 |
_ WEAPON MAKE _Hek ee ovat . A SP CALIBRE _Ys7 . .
SERIAL No. 25 OVIOIS . BARREL LENGTH Ss" ISSUED — YES + no

TYPE OF COURSE 68 ROUND _\~ 58. ROUND 36 ROUND TRAINING

225/389 — . 112/159 ©
“Ye/6O

quanreren + yes sno - SCORE —— INSTRUCTORS INITIALS Sak

REFIRE _____ YES _L-~ yo __ SCORE COMMENTS

INSTRUCTORS. INITIALS we

WEAPON INSPECTED -L-— YES _yg COMMENTS

‘BRASS RETURNED _ YES - sO

RANGE SAFETY BRIEFING _L~ yxs _ NO COMMENTS __ _ _

INSTRUCTORS INITIALS SOO

HEALD Aa AL Ine
se 1:05-cv-00326- LiG- JMR Document 77-2 Filed 08/14/08 ‘Page 20 of 36

HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502 -

Personnel Order: 03-0014 -

_IAN UARY 30, 2008.

CHANGE IN EMPLOYMENT STATUS / LIGHT DUTY

DrPUry RYAN TEL,

"Fax: (228) 865-7071 “Dispatch: |
“ gCase 1: 05- -CV- 00326- LG-JMR . Document 77-2 Filed 08/74/08 ~ Page 21 of 36

oo HARRISON COUNTY
-SHERIFF’S: DEPARTMENT

. Post Office Box 1480
Gulfport, Mississippi 39502 -

Personnel Order: 01- 240

OCTOBER 9,200!

October 15 2001, you are reassigned Fromm the Adult Detention Center to the
“Your I. D. number will change from 165 to 143. Réport to Lt. Jim Randail

nvory ¢ Clerks Offic ice

“Fax: (228) 865-7071 "Dispatch: (228) 865-7060

orn,
Case TEP RRRIBOR CEC IPR SHERINFS DEPERTMEN PS 4 OF ORDER Of 36

POST ORDERSISSUEDTO Ryan “Tel.
.  Prifit Name
ghature
_ DATE POST ORDERS ISSUED — @22GZo0/

This post ordet maniual i is issued to you. as an officer of the Harrison County Adult:
. Detention F. acility.

Major Dianne Gatson-Riley
Director of Corrections.
Case 1:05-cv-00326-LG-JMR Document 77-2. Filed 08/14/08 Page 23 0f 36. V4)

-_ HARRISON CouNTY |
SHERIFE’S DEPARTMENT

Post Office Box 1480
_ Gulfport, Mississippi 39502

_ Personnel Order: 01- 240.
~ Date:  OCTOBER9, 2001 ~~

"Subject: TRANSFER

"Y, MISSISSIPPE >
oe be GHP/plp a

Persone! File oe

. Major E. R.. Cook:
Major Melvin, Brisolara
Major Dianne Riley .
Rick Gaston, Chief of Security
Major. Richard Giraud
. Sergeant Walter. Pitts; Communications
~ Regina Leslié, ‘Records’ mo
- Horace, E: Cruthirds, Computer/Property Administrator
Shirley. Ross, geil Service Commission . . .

"7 “Dispatch: (228) 865-7060

“Office: (228) 865-7092. - "Bax: (228) 865-7071 tis «LC
eer tee Ameo CUNIN A UNM tuts arr 2a ur ic

- Case 1:05-cv-00326-4G:JMR Document 77-2 Filed 08/14/08 Page 24 of 36

_HARRISON COUNTY SHERIFF’S DEPART MENT

JOE PRICE, Sheriff
228-865-7060
228-865-7095

-PERSONNEL ORDER: 99-196

4.

DATE: AUGUST 31, 1999

INDEX AS: EMPLOYMENT.

RE; DEPUTY RYAN M. TEEL, BADGE #376 ~ SAIL DIVIS ON — FULL-
TIME HOURLY | Po

Be advised that Ryan M. Tecl is employed by the Harrison Ce ounty Sheriffs Department
ona full-time hourly basis and his salary shall be as indicated. .

On September 07, 1999, at 7:30am. Deputy Teel will report to the. frontidesk of the
Harrison County Jail where he will begin pre-service training classes.

This Order effective September 07.1999,

JOE PRICE

SHERIFF
JP/we
ce: Administrative File Deputy W ynette Render
Personnel File Deputy Pat Dobbs, Inventory Control
Major Metvin Brisolara_ ' Ms. Rhonda Faul, Payroll Départment-
Lt. Walter Pits . Ms, Londa Thorstenson, Personnet Dept.
Lt. Michael McCalcb Ms, Lynn Frederick, Chancefy Clerk Office

Deputy Shirley Ross

P.O. BOX 1480
GULFPORT. MISSISSIPPI 39502

_ Fiesodiare

-cv-00326-I1G

“Case 1:05

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“ aif jo Suawainbed ay Passhd § soy pip iiodve,

ocu ment? 77.

Case 1:05-Cv-003267EG6-JMR Document 77-2 Filed 08/14/08 Page 26 of 36

SHIFT TRAINING

ON January 3, 2005, | yy | RECEIVED a 15-MINUTE
TRAINING.ON HEALTH CARE SERVICES 2245-0700 HOUR SHIFTS BRIEFING.

pale

DEPUTY. SIGNATURE AND BADGE NUMBER

"SGT. REESE #159.
SHIFT SUPERVISOR

_ SGT. LEONARD #156
.. SHIFT SUPERVISOR
Case 1:05-cv-00326-FG-JMR Document 77-2 . Filed 09/14/08 Page 27 of 36 |

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON December 29 2004, 1” y A \ Cx [ RECEIVED.a 15-MINUTE _

TRAINING ON CODE OF ETHIC 2245-0700 HOUR SHIFTS BRIEFING.

DEPUTY SIGNATURE AND BADGE 27

SGT REESE #159.
_ SHIFT SUPERVISOR

| SGT. LEGE #155
- SHIFT SUPERVISOR
‘Case 1:05-cv-00326-KG-JMR Document 77-2. Filed 08/14/08 Page 28 of 36

SHIET TRAINING

POLICY AND PROCEDURE DIRECTIVE

~~ _ON December 28 2004, I 2 A Cc @ ‘RECEIVED a 15-MINUTE
TRAINING ON ANNUAL LEAVE, MILITARY LEAVE, and TRAINING LEAVE REQUEST 2245-

0 700. HOUR: SHIF T Ss BRIEF ING.

DEPUTY SIGNATURE AND BADGE NUMBER

‘SGT REESE #159
SHIFT SUPERVISOR

SGT.LEONARD #156
_ SHIFT SUPERVISOR

SGT. LEGE#ISS
SHIFT SUPERVISOR
Case 1:05-cv-00326-KG-JMR Document 77-2 Filed 09/14/08. Page 29 of 36

SHIFT: TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON December 27, 2004, I 2 a RECEIVED a- 15- MINUTE

TRAINING .ON CALLING IN SICK 2245-0700 HOUR SHIFTS BRIEFING.

¥ apt - 323

DEPUTY SIGNATURE AND BADGE NUMBER

SGT REESE, D. #159
SHIFT SUPERVISOR

SGT LEONARD #156
SHIFT SUPERVISOR
Case 1:05-cv-00326(LG-JMR Document 77-2 Filed @8/14/08 Page 30 of 36

SHIFT TRAINING

On December 23, 2004, L Q Qe oo received a 15-

- Minute Block Training On Suicide Crisis Intervention, », Daring The 2300- 0700. Hour Shift
Briefing:

2 O¢

DEPUTY SIGNATURE AND BADGE NUMBER _

Sgt: Dedri Caldwell #152 —
Supervisor { Instructor

‘Set. Leslie Mathis #157
Supervisor / Instructor
Case 1:05-cv-00326-(G-JMR Document 77-2 Filed 0/14/08 Page 31 of 36

SHIFT TRAINING

On Decemiber 21, 2004, 1 nes ic ce . | oe received a 15-
Minute Block Training On Mail, Telephone and Visiting, During The 2300-0700 Hour
Shift Briefing. -

“225

DEPUTY SIGNATURE AND BADGE NUMBER

Sgt. Dedri Caldwell #152
Supervisor / Instructor
Case 1:05-cv-00326(LG-JMR Document 77-2 Filed ds/14/08 . Page 32 of 36

SHIFT TRAINING

On. December 20, 2004, I- QQ! Te Cc e | received : alS-..
"Minute Block Training On Health Care Services, During The 3300- 0700 Hour Shift
Briefing.

A Vee (. 525

DEPUTY SIGNATURE AND BADGE NUMBER -

_ Sat: Dedri Caldwell #152 -
Supervisor / Instructor:
Case 1:05-cv-00326-CG-JMR Document 77-2 Filed 06/14/08 Page 33 of 36

SHIFT TRAINING

. !
ef oar

soko.
etre

On Decetaber 7, 2004, I @ Yan _. 3D Ce 7 received a 15-
Minute Block Training From Tie Policy And Procedure Directive On Custody Inquires,

. During The 2300-0700 Hour Shift Briefing.

525

DEPUTY SIGNATURE AND BADGE NUMBER

Set. Dedri Caldwell #152
Supervisor f Instructor

"© Spt. Leslie Mathis #157
Supervisor / Instructor

Case 1:05-cv-00326¢LG-JMR Document 77-2 Filed 8/14/08 Page 34 of 36

SHIFT TRAINING |

_ peta «= <I NTER-OFFICE MEMO. -

On December 16, 2004, I A a n [ C€. : received-a 15-
_ Minute Block Training On An Inter-Office Memo On Replacement Inmate ID Bands, °
During The 2300-0700 Hour Shift Briefing.

DEPUTY SIGNATURE AND BADGE NUMBER

~ Sgt. Dedri Caldwell #314
Supervisor / Instructor
_ Case 1:05-cv-00326-LGLIMR Document 77-2 Filed 08/14/08

_Page 35 of 36

- SHIFT TRAINING -

POLICY AND PROCEDURE DIRECTIVE Teel

ON, 30 ot, | RECEIVED a 15 -MINUTE BLOCK

PRINT NAME

TRAINING ON POLICY. AND PROCEDURE, SuiDe WATCH; ‘DURING THE 2300/0700 HOUR

SHIFTS BRIEFING. .

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT: SUPERVISORS/INSTRUCT OR:

‘SGT. LESLIE MATHIS #228.

Case 1:05-cv-00326-LG-JMR Document 77-2. Filed 08/¥4/08 Page 36 of 36

SHIFT TRAINING. oe

POLICY AND PROCEDURE DIRECTIVE

ON, F-28-04, I Nee / oe a _ RECEIVED a 1S-MINUTE BLOCK -
-- PRINT NAME :
TRAINING: ON POLICY AND PROCEDURE, RIOTS AND DISTURBANCES; DURING THE
2300/0700 HOUR SHIFTS BRIEFING.

Aas

DEPUTY SIGNATURE AND BADGE NUMBER ,

SHIET SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228 |
SGT. DEDRI CALDWELL #314
